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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

LEONARD L. GILLAN,

               Plaintiff,

v.                                                           Docket No. 4:18-CV-02012-CDP

WRIGHT MEDICAL TECHNOLOGY, INC., and
BARNES-JEWISH WEST COUNTY HOSPITAL,

               Defendants.


                  PLAINTIFF’S MOTION TO ENFORCE SETTLEMENT


       Plaintiff Leonard L. Gillan, by and through his attorneys, hereby moves the Court for an

Order enforcing the settlement of this civil action. A settlement of this civil action was agreed to

in Court Ordered mediation that was held on November 27, 2019. Since then Defendant has failed

to deliver the amount agreed to be paid to Plaintiff in the settlement and has not provided a date

certain by which those funds will be delivered.

       Prior to the filing of this motion, on January 28, 2020, counsel for Plaintiff met and

conferred by telephone with one of the counsel of record for Defendant Wright Medical

Technology, Inc. regarding the subject of this motion. Defendant Wright Medical opposes the

relief sought in this motion.

       A memorandum in support of this motion is being filed herewith.

       WHEREFORE, Plaintiff prays that this Court enter an Order compelling Defendant Wright

Medical Technology, Inc., to deliver the amount agreed to for the settlement of this civil action by

a date certain, on or before February 7, 2020, and for the imposition of sanctions, and such other
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relief as the Court may deem to be appropriate, if the settlement funds are not delivered to

Plaintiff’s counsel by that date, including an award of attorney fees.

       Respectfully submitted this 28th day of January 2020.

                                                      /s/ George E. McLaughlin
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                                                      Attorneys for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I certify that on this 28th day of January 2020, a true and correct copy of the above and
foregoing PLAINTIFF’S MOTION TO ENFORCE SETTLEMENT was served on the
following:

David P. Niemeier                                 By Email
Kevin F. Hormuth                                  By Facsimile Transmission
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